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                   EXHIBIT 4
            (File Under Seal)
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                                                                     Page 1


      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK
      - - - - - - - - - - - - - - - - - - - - x
      VIRGINIA L. GIUFFRE,

                   Plaintiff,
                                            Case No.:
           -against-                        15-cv-07433-RWS

      GHISLAINE MAXWELL,

                   Defendants.

      - - - - - - - - - - - - - - - - - - - - x

                           **CONFIDENTIAL**

                 Videotaped deposition of GHISLAINE
            MAXWELL, taken pursuant to subpoena, was
            held at the law offices of BOIES
            SCHILLER & FLEXNER, 575 Lexington
            Avenue, New York, New York, commencing
            April 22, 2016, 9:04 a.m., on the above
            date, before Leslie Fagin, a Court
            Reporter and Notary Public in the State
            of New York.

                           - - -
                 MAGNA LEGAL SERVICES
             1200 Avenue of the Americas
              New York, New York 10026
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                                                                 Page 390
 1                G Maxwell - Confidential
 2                   MR. PAGLIUCA:    Object to the form
 3           and foundation.
 4           A.      If you want to ask Jeffrey
 5    questions about me, you would have to ask
 6    him.
 7           Q.      Have you ever been involved in any
 8    illegal activity in your lifetime?
 9                   MR. PAGLIUCA:    Objection to the
10           form and foundation.
11           A.     I can't think of anything I have
12    done that is illegal.
13           Q.     Have you ever been arrested?
14           A.     I have a DUI in the U.K. a long
15    time ago.
16           Q.     Is that the only arrest you have on
17    your record?
18           A.     Yes.
19           Q.     I will mark as Maxwell 22 this
20    email?
21                  (Maxwell Exhibit 22, email, marked
22           for identification.)
23           Q.     This is dated January 21, 2015.
24    It's from Jeffrey Epstein to you, forwarding
25    the Guardian and I would like you to look at
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 1
 2                         CERTIFICATE
 3
 4
 5                 I HEREBY CERTIFY that the witness,
 6    GHISLAINE MAXWELL, was duly sworn by me and
 7    that the deposition is a true record of the
 8    testimony given by the witness.
 9
10                 _______________________________
11                 Leslie Fagin,
                   Registered Professional Reporter
12                 Dated: April 22, 2016
13
14
15                 (The foregoing certification of
16    this transcript does not apply to any
17    reproduction of the same by any means, unless
18    under the direct control and/or supervision
19    of the certifying reporter.)
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